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EXHIBIT L

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NO. GV002327

THE STATE OF TEXAS
ex rel.
VEN-A-CARE OF THE
FLORIDA KEYS, INC.,
Plaintiff(s),

IN THE DISTRICT COURT

VS. TRAVIS COUNTY, TEXAS
DEY, INC.; ROXANE
LABORATORIES, INC., WARRICK
PHARMACEUTICALS CORPORATION,
SCHERING CORPORATION,
SCHERING-PLOUGH CORPORATION, )
LIPHA, S.A., MERCK-LIPHA,
S.A., MERCK, KGAA, and EMD
PHARMACEUTICALS, INC.,
Defendant (s).

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53RD JUDICIAL DISTRICT
FORK I ROKR KR IRR RI KR ITOK RI TOR ITO I IK BK KR KK

ORAL AND VIDEOTAPED DEPOSITION OF

LUIS COBO

March 3rd, 2003

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ORAL AND VIDEOTAPED DEPOSITION OF LUIS COBO,
produced as a witness at the instance of the
Defendant(s), and duly sworn, was taken in the
above-styled and numbered cause on March 3rd, 2003,
from 9:15 a.m. to 4:56 p.m., before Cynthia Vohlken,
CSR in and for the State of Texas, reported by machine
shorthand, at the Office of the Attorney General, 300
W. 15th Street, 9th Floor, Austin, Texas pursuant to

the Texas Rules of Civil Procedure.

Cobo, Luis 3-3-2003

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13
Q. Well, what I'm just trying to understand, the
other places that you've worked as a pharmacist since
you've become a licensed pharmacist, and we've got the
hospital and you've told us Ven-A-Care and we've got
Cobo Pharmacy, are there any other places besides
those three places that you've worked as a pharmacist

since becoming licensed in 1976?

A. No.

Q. Okay. When was Ven-A-Care formed?

A. 1987 I believe is when it was incorporated.
Q. And you were involved in the corporation of

Ven-A-Care; is that correct?
A. In the formation of the corporation, yes.
Q. Right. You were one of the founding members

of Ven-A-Care, correct?

A. Yes, sir.

Q. Was it your idea to form Ven-A-Care?

A. No, not -- not uniquely. It was pretty much
a brain child of an interaction with a -- witha

school friend of mine who had an ongoing infusion
pharmacy in the Miami area and had contacted me one
day to see if I would act as an intermediary in
getting some medications and supplies to a patient
that he was servicing in Key West.

Coincidentally in that same time frame I

Cobo, Luis 3-3-2003

